           Case 2:11-cr-00323-JAM Document 148 Filed 09/16/13 Page 1 of 3


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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )        2:11-CR-00323-JAM
                                   )
12             Plaintiff,          )        PRELIMINARY ORDER OF
                                   )        FORFEITURE
13        v.                       )
                                   )
14   WILLIAM JOSEPH BOHAC,         )
                                   )
15             Defendant.          )
     ______________________________)
16
17        Based upon the plea agreement and the stipulation and
18   application for preliminary order of forfeiture entered into
19   between plaintiff United States of America and defendant William
20   Joseph Bohac, it is hereby ORDERED, ADJUDGED AND DECREED as
21   follows:
22        1.    Pursuant to 21 U.S.C. § 853(a), defendant William Joseph
23   Bohac’s interest in the following properties shall be condemned
24   and forfeited to the United States of America, to be disposed of
25   according to law:
26               a)    Approximately $46,000.00 in U.S. Currency
27        2.    The above-listed properties constitute properties used,
28   or intended to be used, in any manner or part, to commit, or to


                                       1              Preliminary Order of Forfeiture
            Case 2:11-cr-00323-JAM Document 148 Filed 09/16/13 Page 2 of 3


 1   facilitate the commission of a violation of 21 U.S.C. §§ 846 and
 2   841(a)(1), or constitute or are derived from proceeds obtained,
 3   directly or indirectly, as a result of the said violations.
 4         3.   Pursuant to Rule 32.2(b), the Attorney General (or a
 5   designee) shall be authorized to seize the above-listed
 6   properties. The aforementioned properties shall be seized and
 7   held by the U.S. Marshals Service and/or the Internal Revenue
 8   Service - Criminal Investigation, in their secure custody and
 9   control.
10         4.    a.    Pursuant to 21 U.S.C. § 853(n) and Local Rule 171,
11   the United States shall publish notice of the order of
12   forfeiture.      Notice of this Order and notice of the Attorney
13   General’s (or a designee’s) intent to dispose of the property in
14   such manner as the Attorney General may direct shall be posted
15   for at least 30 consecutive days on the official internet
16   government forfeiture site www.forfeiture.gov.          The United States
17   may also, to the extent practicable, provide direct written
18   notice to any person known to have alleged an interest in the
19   properties that are the subject of the order of forfeiture as a
20   substitute for published notice as to those persons so notified.
21               b.    This notice shall state that any person, other than
22   the defendant, asserting a legal interest in the above-listed
23   properties, must file a petition with the Court within sixty (60)
24   days from the first day of publication of the Notice of
25   Forfeiture posted on the official government forfeiture site, or
26   within thirty (30) days from receipt of direct written notice,
27   whichever is earlier.
28   ///


                                        2              Preliminary Order of Forfeiture
           Case 2:11-cr-00323-JAM Document 148 Filed 09/16/13 Page 3 of 3


 1        5.   If a petition is timely filed, upon adjudication of all
 2   third-party interests, if any, this Court will enter a Final
 3   Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all
 4   interests will be addressed.
 5        SO ORDERED this 16th day of September, 2013.
 6
                                       /s/ John A. Mendez
 7                                     JOHN A. MENDEZ
                                       United States District Court Judge
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                                       3              Preliminary Order of Forfeiture
